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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

JAMES GRIFFEE,

          Plaintiff,                                                                  Case Number 12-13553
                                                                                      Honorable David M. Lawson
v.

MEDICREDIT, INC. and DOES 1-10, inclusive,

          Defendants.
                                                                         /


                                         ORDER OF DISMISSAL

     On October 12, 2012, the plaintiff filed a Notice of Settlement in this case. Therefore, the case

will be dismissed.

      Accordingly, it is ORDERED that the complaint is DISMISSED WITH PREJUDICE and

without costs. Either party may apply to reopen this matter on or before November 30, 2012, to

enforce the settlement agreement.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: October 15, 2012




                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on October 15, 2012.

                                                            s/Deborah R. Tofil
                                                            DEBORAH R. TOFIL
